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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                       8:17CR127

       vs.
                                                                           ORDER
ROBERTO CERVANTES-ZAVALA,

                       Defendant.


       This matter is before the court on defendant's MOTION TO EXTEND TIME TO FILE
PRETRIAL MOTIONS [25]. For good cause shown, I find that the motion should be granted. The
defendant will be given a 14-day extension. Pretrial Motions shall be filed by July 28, 2017.


       IT IS ORDERED:
       1.      Defendant's MOTION TO EXTEND TIME TO FILE PRETRIAL MOTIONS [25] is
granted. Pretrial motions shall be filed on or before July 28, 2017.
       2.      Defendant is ordered to file the affidavit required by Rule 16(c), Fed. R. Cr. P. and
NE. Crim. R. 12.1 forthwith.
       3.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between today’s date and July 28, 2017, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act for the
reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       Dated this 10th day of July, 2017.

                                                       BY THE COURT:

                                                       s/ Michael D. Nelson
                                                       United States Magistrate Judge
